                 Case 1:20-cr-00174-NODJ-BAM Document 76 Filed 11/20/20 Page 1 of 3
AO 199A (Rev. 12/11- EDCA [Fresno]) Order Setting Conditions of Release                                         Page 1 of    3      Pages



                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                 Eastern District of California                                   FILED
                                                                                                                 Nov 20, 2020
                                                                                                              CLERK, U.S. DISTRICT COURT
                                                                                                            EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,
                                                                          )
                              v.                                          )
                                                                          )             Case No.      1:20-cr-00174-DAD-BAM
JUAN MARTINEZ REYES,                                                      )


                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:             U.S. DISTRICT COURT, 2500 Tulare Street, Fresno, California
                                                                                              Place
      U.S. MAGISTRATE JUDGE Barbara A. McAuliffe in Courtroom 8 (unless another courtroom is designated)

      on                                             DECEMBER 9, 2020 at 1:00 PM
                                                                              Date and Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance and Compliance Bond, if ordered.


TO U.S. MARSHAL OFFICE: DEFENDANT IS ORDERED RELEASE TODAY.




(Copies to:       Defendant (through Pretrial)               PRETRIAL SERVICES                 US ATTORNEY        US MARSHAL)
Case 1:20-cr-00174-NODJ-BAM Document 76 Filed 11/20/20 Page 2 of 3
                                                                3 3 of 3 3
      Case 1:20-cr-00174-NODJ-BAM Document 76 Filed 11/20/20 Page


             JUAN MARTINEZ REYES




X




    11/20/2020

                               BARBARA A. McAULIFFE, U.S. MAGISTRATE JUDGE
